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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       *
                                                *
        v.                                      *    CRIMINAL NO. 23-cr-257 (TSC)
                                                *
 DONALD J. TRUMP,                               *
                                                *
                Defendant.                      *
                                                *

                 GOVERNMENT’S CONSENT MOTION TO APPOINT
                 A CLASSIFIED INFORMATION SECURITY OFFICER

       Pursuant to Section 9 of the Classified Information Procedures Act, 18 U.S.C. App. 3

(“CIPA”) and Section 2 of the Revised Security Procedures Established Pursuant to Pub. L. 95-

456, 94 Stat. 2025, by the Chief Justice of the United States for the Protection of Classified

Information, the Government respectfully moves for this Court to appoint a classified information

security officer (“CISO”). The CISO will assist the Court, Court personnel, and the defense in the

handling of any motions and orders pursuant to CIPA; in processing security clearances for Court

staff and defense counsel; and in other matters related to the handling of classified information.

The Government will provide the name of the CISO and any alternate CISOs in a proposed order

designating them, which the Government separately will move to file under seal.

                                                    Respectfully submitted,

                                                    JACK SMITH
                                                    Special Counsel

                                             By:    /s/Thomas P. Windom
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